Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 1 of 23

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
-V.-

20 Cr. 218 (ALC)

DARNELL FEAGINS,

DEFENDANT.

 

 

SENTENCING MEMORANDUM

ZMO Law PLLC

353 Lexington Avenue, Suite 900
New York, NY 10016

(212) 685-0999

zach@zmolaw.com
ATTORNEYS FOR DEFENDANT DARNELL FEAGINS
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 2 of 23

TABLE OF CONTENTS

   

C. Asa young man, Darnell worked, took care of his mother, and got

Ss Nae TN Nate ne ae ee eee! 7
II. THE NATURE AND CIRCUMSTANCES OF THE OFFENSE ....-ssssssesesssssseeeees 9
CALCULATIONS UNDER THE ADVISORY U.S. SENTENCING GUIDELINES ........10
PROPOSED MONETARY PENALTIES ...-ssscsssssssssesssssssseesesssssessessssecssssrssseesesssseeeees 10
RELATED VIOLATION OF SUPERVISED RELEASE.....--sssesssssssesssssseeesssssesesssseeeeen 1
ARGUMENT ...ssssecsssssssesscssssscescsssvccesesssseessessssesssessuuesssessuseesesssssessesssusessessnnseeeesse 1
I. LENIENCY IS WARRANTED BECAUSE [i
De 5 ccrcernccercaemomtimiseets 12

Il. THE “ECCENTRIC” CHILD PORNOGRAPHY POSSESSION GUIDELINE
SHOULD BE GIVEN MINIMAL WEIGHT BECAUSE IT PRODUCES
UNREASONABLE RESULTS. .............cccccssesceeeeeeeeceeseseeeeeeseeeeeeseeeeeeseeeeeeseeeens 13

REREAD deexnanansncanansapaxnnnncnexsenassnensexanucasnapananennainaaeeenmnananamnaaRRGRRaKeRSERMRRREE 21
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 3 of 23

At 35, Darnell Feagins has nothing: no family, no home, no money, no relationships,
no freedom for at least ten years, and no independence from the United States Probation

Department for the rest of his life. He does not know his real name. He does not know

ee The woman who raised him, and her sister who helped,

both died since Mr. Feagins was jailed on this case in 2020. There is nothing left.

Mr. Feagins now faces a federal sentence of incarceration of ten-to-twenty years,
an existing lifetime of supervised released imposed by the Hon. Richard J. Sullivan, up to
two years consecutive incarceration for a related violation of supervised release, lifetime
sex offender registration, and crushing financial penalties that will ensure he remains
impoverished for years to come. The Department of Probation acknowledged that the
provision of the United States Sentencing Guidelines governing Mr. Feagins’s offense is
irrational, but nonetheless recommended a Guidelines sentence of imprisonment, which
would be 130 months, ten months above the statutory minimum. As discussed below, the
courts have noted that the child pornography guideline is “of highly unusual provenance”
and “can easily generate unreasonable results.” U.S. v. Dorvee, 616 F.3d 174, 188 (2d Cir.
2010). We respectfully submit that the 130 months in prison recommended by the
Sentencing Guidelines in this case would be unreasonable, and that a total of ten years in

prison is ample in light of the other sanctions and personal losses Mr. Feagins has suffered.
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 4 of 23

FACTS

The following facts are drawn from the Presentence Investigation Report dated May
24, 2023 (“PSR”), files provided by prior counsel, conversations with Mr. Feagins, and our
own investigation.’
I. Darnell Feagins’s History and Characteristics

° ee

A baby who would later be given the name Darnell Feagins was born on

 
 

from the social work agency that handled his case, Little Flower Children and Family

Services of New York (“Little Flower”), reveal that the little boy was

.” Ex. A: Little Flower Records at 2.”

 

* With respect to the PSR, we respectfully request that the narrative at 4 57, and that all
but the first three sentences of § 82 be stricken. As to 4 57, Mr. Feagins denies any
violent or forcible conduct; the guilty plea was based solely on the victim’s inability to
consent due to her age. As to § 82, there is no scientific basis for the listed conclusions
about Mr. Feagins’s character and personality, which amount to name-calling by the
evaluator, serve no purpose as part of the PSR, and will only make Mr. Feagins’s time in
prison needlessly more difficult.

* These records were obtained from Little Flower in the course of our defense mitigation
investigation. They have been redacted by the agency to conceal Mr. Feagins’s true
identity. Our office has been attempting to obtain an original, pre-adoption birth
certificate for Mr. Feagins authorized by a New York law passed in 2019, in order to
identify his birth parents. Our efforts have so far been unsuccessful, but we are hopeful
that a certificate will be forthcoming shortly from the City of New York.
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 5 of 23

The child’s biological father was described as a former

. Ex. A at 42. As of January 7, 1988, the father had been

on welfare for the previous two years. The social worker assigned to the case described
her general impression of the birth father as seeming like “he started deteriorating in the
past few years- he blames aa. He had a “vivid imagination” and it seemed possible
that he was ae. His behavior seemed inappropriate at times: he giggled a
lot, got upset easily for no reason, but also calmed down suddenly. Id. at 45. The birth
father would frequently disappear for months at a time. In May 1988, the baby’s paternal
grandmother reported that she had not seen her son in more than three months. Ex. A at
56.

The baby was placed in a foster home shortly after his birth. There is some
indication he was named Anthony. His original foster mother had a three-year-old son and
the new baby seemed to get along well with the family, but this first foster mother decided
not to adopt him after she learned that she would not receive financial subsidies after the
adoption was finalized. The foster mother worried about how she would support an

additional child and worried that he would grow up “with the problems of the street.” Id.

oo
o
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 6 of 23

ee
ee
as

In October 1988, Little Flower Children’s Services placed the child in the pre-
adoptive home of Bridgette Feagins. Ex. A at 93. Bridgette named him Darnell and gave
him her last name. According to the records, Bridgette lived in a spacious home and had
a closet full of baby clothing for Darnell. Id. at 97. She took maternity leave from her job
to help Darnell adapt to his new home. Id. at 99. Darnell was not legally freed for adoption
when he was first placed with Bridgette, but attorneys at Little Flower worked on having
Darnell’s birth parents’ rights terminated so Bridgette could legally adopt him. Id. at 100.

The records claim that Darnell’s birth mother never contacted the agency after
Darnell’s birth. Darnell’s birth father visited Darnell occasionally, so it was up to the court
to decide if his parental rights would be terminated. Ex. A at 102. On March 27, 1989,
Darnell’s birth father’s parental rights were terminated due to “permanent neglect,” failure
to visit Darnell, and failure to complete the agency's parent training program. Ex. A at 110.
On May 11, 1990, Bridgette Feagins legally adopted Darnell Louis Feagins at the Brooklyn
Family Court with Judge Sara P. Schecter presiding. Ex. A at 140.

As reflected in the PSR, despite the successful adoption placement, Mr. Feagins’s
childhood was troubled y ee. Darnell
was Bridgette’s only child, but money was tight. PSR ¢ 67. There was not always enough

to eat or adequate clothing. Utilities were turned off at times. Bridgette rented out rooms
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 7 of 23

in the brownstone apartment building in Brooklyn where they lived but was evicted when
Darnell was 15. Id. She was an active member of a local church.

There was also conflict and resentment over the circumstances of Darnell’s adoption

from a very young age.

. He yearned to know

more about his birth parents, but Bridgette was reluctant to discuss them and it is not clear

whether the information she provided about them was accurate.

B. Darnell was repeatedly

Bridgette Feagins died in August 2021, while Darnell was in jail on this case. A
letter she submitted in connection with his 2018 sentencing before Judge Sullivan is
submitted herewith as Exhibit B. Bridgette was from Georgia and would frequently take

Darnell there to visit her extended family, including her sister, Katrina. Not long after

Darnell learned he was adopted,
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 8 of 23

See PSR 4 73.

After the eviction, Darnell resided with various family members and no longer lived
with his mother consistently. After staying with an uncle in Brooklyn, he moved back and
forth to Georgia and sometimes stayed with his godfather in New York. He always had a

good relationship with his godfather, who took him for haircuts or out bowling. PSR 4 69.

 

3 The two men who
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 9 of 23

Cc. As a young man, Darnell worked, took care of his mother, and got
arrested many times.

Darnell never stayed long in one place after his mother was evicted from the
Brooklyn brownstone. He moved back and forth between Georgia and New York and often
slept in his car. He stayed with his aunt Katrina in Georgia. He was arrested frequently for
minor infractions like reckless driving. Katrina kicked him out when he turned 18 but
would sometimes let him park in her driveway to sleep and use the shower. He worked at
Family Dollar and, for several years at Applebee’s restaurants in both New York and
Georgia. PSR 4 75.

None of the arrests was particularly serious except for the sex offense: criminal
sexual act in the second degree and endangering the welfare of a child based on a sexual
encounter with a girl too young to consent when Darnell was 24.* His frequent
incarceration and federal prosecutions since that time all arise out of that incident. He
absconded from parole, failed to register as a sex offender, and was charged and
imprisoned by the federal government for interstate failure to register. As detailed in the
PSR, the failure to register gave rise to the violation of supervised release and the search
of his phone that led to the instant charges and additional pending supervised release

violation proceeding before Judge Sullivan.

 

* In its recommendation, the Department of Probation refers to the instant offense as
Feagins’s “third conviction for a sex offense.” PSR at 35. That is not accurate. While the
criminal sexual act conviction is surely a sex offense, failure to register and probation
violations are not sex offense convictions. The instant child pornography offense is Mr.
Feagins’s second sex offense conviction, not his third.
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 10 of 23

When Darnell was in his early 20s and working at Applebee’s,

A friend (who happened to work as a corrections officer) sent Darnell
a Greyhound bus ticket for the long ride from Georgia and he came back to New York to

support her during her rehabilitation. He stayed with Bridgette’s father in New York; a

 

D. After his recent release, Darnell tried to come to terms a

In 2020, after Darnell was released for his failure to register, he went to live at a

  

men’s shelter. He looked for work and would play chess in the park in Harlem (our office
has sent him several chess books at MDC). It was during this time that Darnell found the

courage to tell his mother

He was crushed by her lack of empathy. At the same

time, Darnell he was just beginning to

. As his therapist
testified before Judge Sullivan, Darnell would participate in therapy by walking down the
noisy streets of the Bronx with a cell phone pressed against his ear. See 3/28/2023 Hearing
Tr. at 30-31.

As COVID got underway in the Spring of 2020, Bridgette’s sister Katrina

Darnell was still out of jail and Bridgette told him she was going to Florida. Darnell begged
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 11 of 23

her not to go, but she said she felt compelled. She took a Greyhound, by herself, a
ee What was supposed to be a few
weeks with her sister dragged on for more than a year. Darnell was arrested in October
2020 on this case, when Bridgette was still in Florida. She never visited him in jail. a
a and passed away from it in August 2021. Katrina died the
following year, in November 2022. That left Darnell with no known living relatives, no
family, no one to provide commissary money, no support at all. He nonetheless has
endured stoically in jail, even under the atrocious lockdown conditions at the MDC. He
was attacked and robbed by gang members who found out about his conviction. He did
not fight back but was placed in protective custody. All of his property was taken and not
returned. He is now in a stable unit at MDC and is looking forward to being transferred to
a sentenced facility where he can participate in rehabilitative programming.

II. The Nature and Circumstances of the Offense

The PSR and plea agreement accurately describe the instant offense, which
consisted of possession of child sexual abuse material on two cell phones. The first was
recovered when Mr. Feagins was arrested in May 2018 for failure to register and contained
about 1200 illegal files. The second was recovered after Mr. Feagins was released from
custody, absconded, and was re-arrested in October 2022. The second phone contained
41 videos and 41 images. See PSR { 13-21.

Mr. Feagins pled guilty to one count of violating 18 U.S.C. § 2252A(a)(5)(B) and

(b) (2), which provides a mandatory minimum sentence of ten years for possession of child
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 12 of 23

pornography for individuals previously convicted of a state crime relating to sexual abuse.
Under the agreement, the government agreed not to further prosecute Mr. Feagins for
possession of child pornography between November 2017 and October 2020. The
agreement was struck between the parties after the government threatened to indict Mr.
Feagins for receipt of child pornography, which would have increased the mandatory
minimum sentence to 15 years under 18 U.S.C. § 2252A(b)(1).

CALCULATIONS UNDER THE ADVISORY U.S. SENTENCING GUIDELINES

The PSR accurately calculates the Guidelines sentence based on USSG § 2G2.2 and
Mr. Feagins’s criminal history category of V. This calculation includes enhancements
present in virtually every modern child pornography case including plus two for use of a
computer (in this case, Mr. Feagins’s cell phone) and plus five for more than 600 images.

PROPOSED MONETARY PENALTIES

The PSR recommends imposition of an additional special assessment of $5000
based on the crime of conviction under the Justice for Victims of Trafficking Act, 18 U.S.C.
§ 3014. See PSR { 102 and recommendation at pp. 33, 35 and 36. We object to imposition
of this fine because the statute applies to only to “non-indigent” defendants. Mr. Feagins
is indigent.

In addition, the government has indicated it will seek restitution on behalf of at
least three victims in the amount of at least $9,000. While we have no basis to object to
this levy, we note that it will have a devastating effect on Mr. Feagins, who does not even

have access to hygiene products because, with no living family, he has no way to get money

10
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 13 of 23

into his prison commissary account. It will be years after his release before Mr. Feagins
will be able to pay off the restitution in full, and having a restitution judgment hanging
over his hear will hold him back in getting on with his life and putting his criminal past
behind him. We ask that the Court consider the effect of mandatory restitution on Mr.
Feagins in determining the length of the incarceratory sentence and set a realistic payment
schedule that begins no sooner than five years after his release from prison.

RELATED VIOLATION OF SUPERVISED RELEASE

Mr. Feagins also faces a violation of supervised release pending before the Hon.
Richard J. Sullivan under the caption U.S. v. Feagins, 17 Cr. 377 (S.D.N.Y.) for absconding
in 2020. Mr. Feagins challenged the specifications. An evidentiary hearing was held and
briefing was submitted; a decision on the violation specifications is pending. Judge
Sullivan indicated at a court appearance that he did not intend to sentence Mr. Feagins on
the violation until after he is sentenced in the instant case so that he (i.e. Judge Sullivan)
would maintain the ability to run the violation of supervised release consecutive to any
sentence imposed on this docket. Because we believe that the mandatory minimum is far
too severe under the circumstances of this case, we also ask that this Court recommend
that any sentence on the supervised release violation run concurrently with the sentence
imposed here.

ARGUMENT

As discussed below, we ask that Mr. Feagins be sentenced to the minimum lawful

sentence for his conviction: 120 months in prison followed by a term of supervised release

11
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 14 of 23

of five years. Despite the family difficulties, Mr. Feagins was a loyal son to his mother
when she fell ill. He has adjusted well since his incarceration with no disciplinary
infractions. PSR {{ 5-6. He has no history of violence and has completed an anger
management course. See Dkt. No. 17 Cr. 377, ECF No. 27 at 4 (RevCore Recovery Center
Anger Management Program Certificate of Completion). He has proven he has the capacity
to work and take care of himself despite the depredations of his childhood. While the
advisory Guidelines sentence is a little bit higher than the requested ten-year sentence, we
respectfully submit that 130 months in prison is greater than necessary to achieve the
objectives of sentencing in light of the adverse experiences Mr. Feagins suffered in
childhood, inciuding od the
eccentric origins of the child pornography guidelines. 18 U.S.C. § 3553(a). Additional
supervised release is not necessary because Judge Sullivan has already sentenced Mr.

Feagins to lifetime supervised release.

I. a is warranted because of the ee

In 1802, the British poet William Wordsworth wrote that the “Child is the father of
the Man[.]” He was talking about the delight a child takes in the world and how that can
stay with a person throughout his life. But the converse is true here: the harms inflicted
on Darnell were inflicted not just on a person in one moment, but have persisted for

decades with the man Darnell has become. Darnell’s possession of child pornography can

be traced to the desensitization he experienced \y ie
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 15 of 23

relationships stem from abandonment and loss of sense of self, identity, belonging, and
pride of place. His poor decisions are directly attributable to what was done to him as a
child. His father—in Wordsworth’s construction—was a lonely, abused, fatherless,
abandoned, a whose heart never had a chance to leap. See
Wordsworth, William, “My Heart Leaps Up” (1802).

Darnell’s adverse childhood experiences should inform the sentence in two ways.
First, an extra ten months of suffering in federal prison is not warranted for someone who
has suffered so much already. Second, the pain inflicted on him in childhood reduces his
moral culpability for his crime, which was less a product of his individual will than of the
lived experiences over which he had no control but that damaged his psyche. It is
uncontroversial that adverse childhood experiences are criminogenic. See, e.g., Reavis, et
al., ADVERSE CHILDHOOD EXPERIENCES AND ADULT CRIMINALITY: HOW LONG MUST WE LIVE BEFORE
WE POSSESS OUR LIVES, Perm J. 2013 Spring; 17(2): 4448. In this case, Darnell’s possession
of child pornography was a direct product of his adverse childhood experiences and lack
of guidance. While that does not excuse his conduct, it suggests that ten years
imprisonment is more than sufficient punishment under the factors set forth in 18 U.S.C.
§ 3553(a).

Il. The “eccentric” child pornography possession Guideline should be given
minimal weight because it produces unreasonable results.

A growing consensus has emerged that the Guidelines governing possession and
receipt of child pornography are “fundamentally different from most” — they are far too

high as a result of political manipulations that increased the applicable guidelines

13
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 16 of 23

sentences in most child pornography cases by a factor of ten. See U.S. v. Dorvee, 616 F.3d
at 184-88; see also Troy Stabenow, Deconstructing the Myth of Careful Study: A Primer on
the Flawed Progression of the Child Pornography Guidelines (rev. Jan. 1, 2009), Appendix
A, available at https://www.ussc.gov/sites/default/files/ pdf/training/annual-national-
training-seminar/2016/report_stabenow.pdf (hereinafter “Stabenow”) (showing increase
in Guidelines sentences since enactment).

Despite political pressure for ever-increasing punishments on child pornography
defendants, numerous courts around the country had taken this view even before 2010,
routinely refusing to impose Guideline sentences in cases like Mr. Feagins’s. See, e.g., U.S.
v. Diaz, 720 F.Supp.2d 1039, 1042 (E.D. Wis. 2010) (finding the “guideline is largely the
product of congressional directives, some of which the Sentencing Commission actively
opposed, rather than Commission study and expertise,” when sentencing defendant to 6
months in prison with 12 years of supervised release where guidelines range was 78 to 97
months of incarceration and lifetime supervised release); U.S. v. McElheney, 630 F.Supp.2d
886, 895 (E.D. Tenn. 2009) (child pornography guidelines are “due less weight than
empirically based Guidelines”); U.S. v. Stern, 590 F.Supp.2d 945, 960 (N.D. Ohio 2008)
(finding Guidelines “do not reflect the kind of empirical data, national experience and
independent expertise that are characteristic of the commission’s institutional role” when
imposing 12 months and one day incarceration where guidelines called for 46 to 57

months).

14
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 17 of 23

The Second Circuit joined these courts in U.S. v. Dorvee, 616 F.3d 174. The Dorvee

panel’s overall critique of the child pornography Guideline includes three components:

First, a careful examination of the development of the current Guideline leads
inevitably to the conclusion that it was the product of a series of underhanded
political maneuvers — so-called “morality earmarks” — meant to subvert the
normal role of the Sentencing Commission to develop guidelines based on
empirical data or rational policy decisions. See Stabenow at 6 and 4-23 (Sen.
Jesse Helms’ amendment a “morality earmark”; tracing the development of the
child pornography Guideline provisions); U.S. v. Dorvee, 616 F.3d at 185-86
(describing opposition to amendments from, inter alia, the U.S. Sentencing
Commission).

Second, the result of these amendments to the Guidelines is that run-of-the-
mill cases of possession are punished at or near the statutory maximum
sentence, which was intended for commercial distributors of child
pornography, since enhancements based on the number of images, use of a
computer and presence of pre-pubescent children and sadistic conduct occur
in “nearly all cases[.]” See U.S. v. Dorvee, 616 F.3d at 186-87.

Third, sentences near the statutory maximums for simple possession are
unnecessarily high because they are on par with sentences for violent crimes—
including, most absurdly, actual abuse of children. See U.S. v. Dorvee, 616 F.3d
at 187 (“had [defendant] actually engaged in sexual conduct with a minor, his
applicable guidelines range could have been considerably lower”).

The result of these problems is a Sentencing Guideline that undermines the very

foundation of guideline sentencing. As Stabenow points out, in 1997 the mean sentence

for child pornography offenders—including not just those that possessed, but also

distributors—was 20.6 months.* Ten years later, it was 91.3 months. In other words, the

 

° The Stabenow paper cited above is relied upon in Dorvee and numerous other cases. It
carefully traces each increase in § 2G2.2, showing that none of them were based on data
or analysis, and most were brought about by political manipulations by individual
members of Congress. We urge the Court to consider the paper in its entirety and would
be happy to make a copy available upon request.

15
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 18 of 23

average sentence increased seven months per year. There was no rational basis in fact or
law for this increase. See Stabenow at 2-3. Rather, it was the result of political
maneuvering roundly criticized by the courts, the Sentencing Commission, and former
Eastern District of New York United States Attorney Alan Vinegrad, who wrote that one of
the legislative changes, the 2003 increase in punishment known as the “Feeney
Amendment”—

was introduced without input from the federal judiciary, the
organized bar, academics, criminal justice experts, probation
officers or prison officials. Even the Sentencing Commission
itself — the very body charged by Congress with the
responsibility of creating and amending the Guidelines — was
not consulted. ***

What is more, the proponents of this legislation sought to
minimize the opportunity for debate or opposition. The
reforms were appended at the eleventh hour to a politically-
popular piece of child abduction legislation that no legislator
could easily oppose. ***

The statute evinces, in many ways, extraordinary disrespect
for the role that federal district judges play in the sentencing
process. ***

Even more blatant was the rebuke of the Sentencing
Commission inherent in this legislation. In enacting this bill,
Congress (i) adopted sentencing reforms without consulting
the Commission, (ii) ignored the statutorily-prescribed
process for creating guideline amendments, (iii) amended the
Guidelines directly through legislation, (iv) required that
sentencing data be furnished directly to Congress rather than
to the Commission, (v) directed the Commission to reduce
the frequency of downward departures regardless of the
Commission's view of the necessity of such a measure, and
(vi) prohibited the Commission from promulgating any new
downward departure Guidelines for the next two years.

16
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 19 of 23

All told, the statute is the most significant effort to marginalize
the role of the Sentencing Commission in the federal sentencing
process since the Commission was created by Congress nearly
20 years ago.

Alan Vinegrad, The New Federal Sentencing Law, 15 Fed. Sent. Rptr. 300, 314-316
(June 1, 2003) (emphasis added, footnotes omitted), quoted (in part) in U.S. v. Dorvee,
616 F.3d at 185.

The Dorvee court noted that the ill-advised § 2G2.2 enhancements enacted in this
way apply in nearly all cases, including this one. U.S. v. Dorvee, 616 F.3d at 186. The court
cited 2009 Sentencing Commission data showing that of all sentences under § 2G2.2 in
2009, 94.8% involved an image of a prepubescent minor [triggering a two-level increase
under to § 2G2.2(b)(2)], 97.2% involved a computer [two-level increase pursuant to §
2G2.2(b)(6)], 73.4% involved an image depicting sadistic or masochistic conduct or other
forms of violence [four-level enhancement pursuant to § 2G2.2(b)(4)], and 63.1%
involved 600 or more images [five-level enhancement pursuant to § 2G2.2(b)(7)(D)]. Id.,
citing U.S. Sentencing Commission, Use of Guidelines and Specific Offense Characteristics for
Fiscal Year 2009, available at http://www.ussc.gov/Data_and_Statistics/
Federal Sentencing Statistics/Guideline_Application_Frequencies/2009/09_glinexgline.
pdf). Thus, virtually all child pornography receipt cases, starting at base offense level 22,
are increased to level 24 and most go up to level 35 as a result of the enhancements.

Most sentences resulting from this flawed process are irrational. As the Dorvee court
noted, the Sentencing Commission criticized the child pornography Guidelines even before

the most recent increases because they failed to distinguish serious commercial

17
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 20 of 23

distributors of online pornography from mere users. Id. at 186, citing U.S. Sentencing
Commission, Report to Congress: Sex Offenses Against Children Findings and
Recommendations Regarding Federal Penalties, June 1996, at 25-30. The Commission found
that there was “virtually no distinction between the sentences for defendants [whose
activities are limited to viewing images on their computers], and the sentences for the
most dangerous offenders, who, for example, distribute child pornography for pecuniary
gain and who fall in high criminal history categories.” U.S. v. Dorvee, 616 F.3d at 187. The
punishment of possession of child pornography as harshly as actual child abuse was found
to be “fundamentally incompatible with § 3553(a).” Id.
As a result of the flaws in the child pornography Guideline, the Second Circuit

directed sentencing courts as follows:

District judges are encouraged to take seriously the broad

discretion they possess in fashioning sentences under § 2G2.2

— ones that can range from non-custodial sentences to the

statutory maximum — bearing in mind that they are dealing

with an eccentric Guideline of highly unusual provenance

which, unless carefully applied, can easily generate

unreasonable results. While we recognize that enforcing

federal prohibitions on child pornography is of the utmost

importance, it would be manifestly unjust to let [a statutory
maximum] sentence stand.

Dorvee, 616 F.3d at 188 (emphasis added).

Courts in this district and the Eastern District of New York have followed the Second
Circuit’s direction, increasingly sentencing possessors of child pornography to terms well
below the applicable Guidelines. In fact, the median sentence for the 15 child pornography

cases brought in the Southern District of New York in 2016 was just 66 months; the year

18
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 21 of 23

before it was 53 months. See U.S. Sent. Com’n, Statistical Information Packet, Fiscal Year
2016 Southern District of New York at 10, Table 7, available at
https://www.ussc.gov/sites/default/files/ pdf/research-and-publications/federal-
sentencing-statistics/state-district-circuit/2016/nys16.pdf; U.S. Sent. Com’n, Statistical
Information Packet, Fiscal Year 2015 Southern District of New York at 10, Table 7, available
at http://www.ussc.gov/sites/ default/files/pdf/research-and-publications/ federal-
sentencing-statistics/state-district-circuit/2015/nys15.pdf. This includes all child
pornography offenses, many of which carry mandatory minimums of five, ten, or fifteen
years. See U.S. v. Flores, 14 Cr. 258-1 (RWS), 2015 WL 6656928 (S.D.N.Y. Oct. 30, 2015)
(sentence of 24 months despite Guidelines of 51-63 months); see also, e.g., U.S. v. E.L., 188
F, Supp. 3d 152, 155 (E.D.N.Y. 2016) ( years of probation despite Guidelines of 41 to 63
months); U.S. v. R.V., 157 F.Supp.3d 207, 223 (E.D.N.Y. 2016) (Weinstein, D.J.)
(imposing time-served and seven years probation despite Guidelines sentence of 78-97
months, based on a detailed analysis of federal child pornography sentences).

The more recent statistics provided by Probation specific to people with criminal
histories comparable to Mr. Feagins confirm this analysis. The median length of
imprisonment was 120 months, the mandatory minimum, and the average length was 103
months for people nationwide in Criminal History Category V and Total Offense Level 28

sentenced under § 2G2.2 from 2017-2021. PSR at 28.° It seems clear from this that the

 

®° Although the PSR does not specify that these 14 sentences were imposed on defendants
nationwide as opposed to in the local federal districts, I was able to reproduce the

19
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 22 of 23

median length was driven by the 120-month mandatory minimum and that most sentences
are substantially below the Guidelines when permitted by the applicable statute.

Recent data available via the Sentencing Commission’s Interactive Data Analyzer
service, available at https://ida.ussc.gov/analytics/saw.dll?Dashboard, reveal that in the
Southern and Eastern Districts of New York, the vast majority of child pornography
sentences are below the Guidelines. From 2017 to 2021, there were 217 cases in these
districts reported to the Commission. Roughly 80 percent of them were sentenced as non-
government downward variances, as reflected on the orange line at the top of Exhibit D,
which is a chronological graph generated through the Sentencing Commission’ statistical
tool. In 2021, fewer than 10 percent of child pornography possession defendants (i.e.
people sentenced under USSG § 2G1.1) received Guidelines sentences or above. See Ex. E.

dokk

Darnell Feagins’s crimes are not the worst of child pornography offenses. His past
is tragic and his present even more so. It is true, as Probation points out, that he has “failed
to benefit from prior terms of imprisonment[.]” PSR at 35. There is absolutely no reason
to believe that additional imprisonment, beyond the required ten years, will benefit him
or society in any way. The Guidelines get it wrong in this case, just as they do in most child
pornography cases. He should be sentenced to the minimum term of incarceration

authorized by law.

 

analysis by accessing the Sentencing Commission’s Judiciary Sentencing Information
portal at https://jsin.ussc.gov/analytics/saw.dll?Dashboard and confirm that the total
was 14 sentences throughout the United States.

 

20
Case 1:20-cr-00218-ALC Document 75 Filed 06/01/23 Page 23 of 23

CONCLUSION

For the reasons set forth above Darnell Feagins should be sentenced to no more
than 120 months imprisonment, five years supervised release, and a total special
assessment of $100. Due to the nature of the mandatory minimum sentence, we also
respectfully request that the Court recommend that the potential pending sentence for the
violation of supervised release in 17 Cr. 377 run concurrently with the sentence imposed

on this docket.

Dated: March 30, 2023
New York, New York

Respectfully submitted,
ZMO Law PLLC

By: S/
Zachary Margulis-Ohnuma
353 Lexington Avenue, Suite 900
New York, NY 10016
(212) 685-0999

21
